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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
CHRISTOPHER MARTELL HARTWELL,                       :
as administrator of the estate of                   : CIVIL ACTION
CHRISTOPHER WILLIAMS, deceased,                     : No. 21-5268-JMY
                                                    :
                              Plaintiff,            :
                                                    :
       v.                                           :
                                                    :
CITY OF PHILADELPHIA, et al.                        :
                                                    :
                              Defendants            :
                                                    :

                         STIPULATION OF PARTIAL DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), and by stipulation of the

undersigned parties, Plaintiff dismisses this action as to Defendants David Desiderio, David

Webb, Lynne Abraham, Charles Bentham, John Grier, Richard Harris, Frank Margerum, Manuel

Santiago, Frank Jastrzembski, Karen Ansel as personal representative of the Estate of Frances

Ansel, Ludmilla Permint as the personal representative of the Estate of Charles Permint, James

Rodden as the personal representative of the Estate of Gregory Rodden, Kenneth Russell as the

personal representative of the Estate of Raleigh Witcher, John Della Rocca as the special

administrator of the Estate of Michael Burke, John Della Rocca as the special administrator of

the Estate of John Cimino, John Della Rocca as the special administrator of the Estate of

Raymond Dougherty, John Della Rocca as the special administrator of the Estate of Arthur

Durrant, John Della Rocca as the special administrator of the Estate of Joseph Hasara, John Della

Rocca as the special administrator of the Estate of Frank Miller, John Della Rocca as the special

administrator of the Estate of James Morton, and the Philadelphia District Attorney’s Office

only, with prejudice and with each party to bear their own costs.
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March 6, 2023
                                                /s/ John Milton Younge
                                                Judge John Milton Younge




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